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                            NOT FOR PUBLICATION                          FILED
                     UNITED STATES COURT OF APPEALS                       JUN 6 2024
                                                                      MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS
                            FOR THE NINTH CIRCUIT

JANETTE HARRISON,                               No. 23-3210
                                                D.C. No. 2:22-cv-01811-RAJ
               Plaintiff - Appellant,

 v.                                             MEMORANDUM*

UNIVERSITY OF WASHINGTON; et al.,

               Defendants - Appellees.

                     Appeal from the United States District Court
                       for the Western District of Washington
                     Richard A. Jones, District Judge, Presiding

                               Submitted May 29, 2024**

Before:        FRIEDLAND, BENNETT, and SANCHEZ, Circuit Judges.

      Janette Harrison appeals pro se from the district court’s order denying her

motion for appointment of counsel in her employment discrimination action. We

have jurisdiction under 28 U.S.C. § 1291. Bradshaw v. Zoological Soc’y of San

Diego, 662 F.2d 1301, 1305 (9th Cir. 1981) (order denying appointment of counsel



      *
             This disposition is not appropriate for publication and is not precedent
except as provided by Ninth Circuit Rule 36-3.
      **
             The panel unanimously concludes this case is suitable for decision
without oral argument. See Fed. R. App. P. 34(a)(2).
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in a Title VII action is appealable under the collateral order doctrine). We review

de novo questions of our own jurisdiction, Hunt v. Imperial Merch. Servs., Inc.,

560 F.3d 1137, 1140 (9th Cir. 2009), and we dismiss this appeal as moot.

      Harrison’s appeal is moot because, during the pendency of this appeal,

Harrison voluntarily dismissed the action that formed the basis of the appeal. See

Akina v. Hawaii, 835 F.3d 1003, 1010 (9th Cir. 2016) (an interlocutory appeal is

moot when the court can no longer grant any effective relief); ACF Indus. Inc. v.

Cal. State Bd. of Equalization, 42 F.3d 1286, 1292 (9th Cir. 1994) (dismissing as

moot certain claims on appeal because the claims were dismissed before the

district court while the appeal was pending).

      In light of our disposition, we do not consider Harrison’s contentions

regarding the merits of the appeal.

      DISMISSED.




                                        2                                  23-3210
